                              UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT IOWA

UNITED STATES OF AMERICA            )                 Case No. 22-CR-1039
                                    )
                  Plaintiff,        )
                                    )
vs.                                 )                 DEFENDANT’S UNRESISTED
                                    )                 MOTION TO CONTINUE TRIAL
JACOB DEMAIO,                       )                 DATE
                                    )
                                    )
                  Defendant.        )
____________________________________)


        COMES NOW the Defendant, Jacob Demaio, by and through counsel, and in support of

this Unresisted Motion to Continue Trial Date, states as follows:

        1.   Trial is set for December 27, 2022.

        2.   There is an extreme amount of discovery to review, including banking/financial

             records, which requires a hard drive with 1 TB of space. The undersigned must meet

             with Defendant in Linn County Jail to process much of this discovery.

        3.   Defendant is charged with Conspiracy to Distribute a Controlled Substance Near a

             Protected Location and, according to the Government, faces a potential sentencing

             guideline range of 360 months – life. In the interests of justice, Defendant needs

             more time to be adequately prepared for trial.

        4.   The undersigned has discussed this Motion with the U.S. Attorney’s Office and the

             Government does not resist a continuance.


        WHEREFORE, Defendant respectfully requests a continuance of the trial date for

approximately 90 days and that trial related motions and briefs be continued accordingly.




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                                                              Respectfully Submitted,


December 2, 2022                                              /s/: Michael Lanigan
Date                                                          Michael Lanigan, #AT0004554
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                                  CERTIFICATE OF SERVICE

I certify that on 12/02/2022, I electronically filed the foregoing with the Clerk of Court using the
CMECF system which will send notification of such filing to the following:

U.S. Attorney




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